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Th!s document entered on the docket shea
with Rule 58 and.’or_79 (a) FRCP on

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

TERRETTA WEBB,

 

PIain_tiff,
VS. No. 04-1288-T
STANLEY JONES REALTY, INC.,

Defendant.

ORDER OF REFERENCE

Defendant’S Motion for New Status Conference is hereby referred to United States
Magistrate Judge Thomas Anderson for disposition.

IT IS SO ORDERED.

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.TODD

UNI STATES DISTRICT JUDGE

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DATE/ {/

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DISTRI T COURT - WESTENR D"ISRICT OF TNNESSEE

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Honorable J ames Todd
US DISTRICT COURT

